Case 2:05-cr-20177-SH|\/| Document 124 Filed 08/19/05 Page 1 of 3 Page|D 140

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IN THE UNITED sTATEs DISTRICT cOURT ' """ ‘

FOR THE wEsTERN DISTRICT oF TENNESSEE g- _
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UNITED s'I‘A'I‘ES OF AMERICA, CLHW%[{}‘§QSYHUM
"` . |'v !rli las

VS- NO. 05-20177-Ma

CHARLES L. PRICE,

Defendant.

 

ORDER GRANTING MOTION FOR ADDITIONAL 'I‘IME TO RESPOND

 

Before the court is the government's August ll, 2005,
motion requesting an extension of time within which to file a
response to the defendant’s motion to suppress. For good cause
shownr the motion is granted. The government shall have
additional time to and including September 6, 2005, within which

to file a response.

It is so ORDERED this /EU%Lday of August, 2005.

<VV/Vw`_,

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This dochent entered on the docket esth in c mpliance
wlth Ru|e 55 and/or 32¢b} FHCrP on __ZQ__QS.

 

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This notice confirms a copy of the document docketed as number 124 in
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Honorable Samuel Mays
US DISTRICT COURT

